             Case:23-11637-TBM Doc#:1 Filed:04/20/23                                  Entered:04/20/23 13:43:09 Page1 of 51


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO, DENVER DIVISION

Case number (if known)                                                     Chapter       7
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Colorado Home Fitness Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  9619 E County Line Rd
                                  Ste B                                                          23933 E Swallow Cir
                                  Englewood, CO 80112-3535                                       Aurora, CO 80016-7867
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Arapahoe                                                       Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 8150 S University Blvd Ste 100 Littleton, CO
                                                                                                 80122-3165
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.coloradohomefitness.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    Colorado Home Fitness Inc.                                                                   Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4591

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
     A debtor who is a “ small            Chapter 9
     business debtor”must check
     the first sub-box. A debtor as
                                          Chapter 11. Check all that apply:
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     “small business debtor” ) must                              procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number




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Debtor    Colorado Home Fitness Inc.                                                                        Case number ( if known )
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                       No
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                 Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                              1,000-5,000                                  25,001-50,000
    creditors                                                                              5001-10,000                                  50,001-100,000
                                       50-99
                                        100-199                                           10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                       $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                             $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities               $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion

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Debtor   Colorado Home Fitness Inc.                                                   Case number ( if known )
         Name

                            $50,001 - $100,000                        $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                            $100,001 - $500,000                       $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                            $500,001 - $1 million                     $100,000,001 - $500 million               More than $50 billion




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Debtor    Colorado Home Fitness Inc.                                                                      Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       April 13, 2023
                                                    MM / DD / YYYY


                              X   /s/ Luther Hunnings                                                            Luther Hunnings
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   President




18. Signature of attorney     X   /s/ Martin Long                                                                  Date April 13, 2023
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Martin Long
                                  Printed name

                                  LONG & LONG PC
                                  Firm name


                                  6860 S Yosemite Ct Ste 2000
                                  Centennial, CO 80112-1448
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (303) 832-2655                  Email address         marty@longandlongpc.com

                                  12855
                                  Bar number and State




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           Fill in this information to identify the case:

 Debtor name        Colorado Home Fitness Inc.

 United States Bankruptcy Court for the:           DISTRICT OF COLORADO, DENVER DIVISION

 Case number (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’
          s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’
                                                            s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                           Check all that apply                        (before deductions and
                                                                                                                                          exclusions)

       From the beginning of the fiscal year to filing date:                                  Operating a business                                   $78,889.00
       From 1/01/2023 to Filing Date
                                                                                               Other


       For prior year:                                                                        Operating a business                                $4,167,639.00
       From 1/01/2022 to 12/31/2022
                                                                                               Other


       For year before that:                                                                  Operating a business                                $6,538,332.00
       From 1/01/2021 to 12/31/2021
                                                                                               Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                              Description of sources of revenue           Gross revenue from
                                                                                                                                          each source
                                                                                                                                          (before deductions and
                                                                                                                                          exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                        Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                              Check all that apply




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       Colorado Home Fitness Inc.                                                                Case number (if known)



       Creditor's Name and Address                                        Dates                  Total amount of value          Reasons for payment or transfer
                                                                                                                                Check all that apply
       3.1.
              Ally Financial                                              March 16,                         $29,120.00          Secured debt
              PO Box 380901                                               2023                                                   Unsecured loan repayments
              Bloomington, MN 55438-0901
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                Other   Sold truck they had
                                                                                                                                lien on in exchange for paying
                                                                                                                                balance owed.


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
   adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
   Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                         Dates                  Total amount of value          Reasons for payment or transfer
       Relationship to debtor
       4.1.   Luther Hunnings                                             March 1,                          $48,307.00          Salary
              23933 E Swallow Cir                                         2022 to
              Aurora, CO 80016-7867                                       March 9,
              President                                                   2023

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
       Creditor's name and address                           Describe of the Property                                         Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’       s direction from an account of the debtor because the debtor owed a debt.

      None
       Creditor's name and address                           Description of the action creditor took                          Date action was                  Amount
                                                                                                                              taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

       None.
              Case title                                      Nature of case              Court or agency's name and                 Status of case
              Case number                                                                 address
       7.1.   Apex Funding Source v.                          Civil-loan                  Supreme Court Kings                         Pending
              Colorado Home Fitness, Inc.                                                 County                                        On appeal
              et al                                                                       360 Adams St
                                                                                                                                        Concluded
              508416                                                                      Brooklyn, NY 11201-3707




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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 Debtor        Colorado Home Fitness Inc.                                                               Case number (if known)



               Case title                                     Nature of case              Court or agency's name and                  Status of case
               Case number                                                                address
       7.2.    Vestar Orchard Town Center,                    Civil-Commercial            Adams County District                        Pending
               LLC v. Colorado Home                           Lease                       Court                                          On appeal
               Fitness, Inc.                                                              1100 Judicial Center Dr
                                                                                                                                         Concluded
               22CV31622                                                                  Brighton, CO 80601-8873


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000

      None
               Recipient's name and address                   Description of the gifts or contributions                  Dates given                              Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
       Description of the property lost and how              Amount of payments received for the loss                    Dates of loss                 Value of property
       the loss occurred                                                                                                                                            lost
                                                             If you have received payments to cover the loss, for
                                                             example, from insurance, government compensation, or
                                                             tort liability, list the total received.

                                                             List unpaid claims on Official Form 106A/B (Schedule
                                                             A/B: Assets –Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

       None.
                 Who was paid or who received the               If not money, describe any property transferred               Dates                     Total amount or
                 transfer?                                                                                                                                       value
                 Address
       11.1.     LONG & LONG PC
                 6860 S Yosemite Ct Ste 2000
                 Centennial, CO 80112-1448                                                                                    2.17.2023                      $7,500.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

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 Debtor        Colorado Home Fitness Inc.                                                               Case number (if known)




      None.
       Name of trust or device                                  Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
               Who received transfer?                         Description of property transferred or                     Date transfer was        Total amount or
               Address                                        payments received or debts paid in exchange                made                              value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                  Dates of occupancy
                                                                                                                          From-To
       14.1.     2468 S Colorado Blvd                                                                                     2.2012 Through Dec. 2022
                 Denver, CO 80222-5907

       14.2.     14686 Delaware St Ste 200                                                                                May, 2019 through Nov. 2022
                 Westminster, CO 80023-9173

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

                 Facility name and address                    Nature of the business operation, including type of services the          If debtor provides meals
                                                              debtor provides                                                           and housing, number of
                                                                                                                                        patients in debtor’
                                                                                                                                                          s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                    Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Simple IRA                                                                                 EIN: XX-XXXXXXX

                    Has the plan been terminated?

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 Debtor        Colorado Home Fitness Inc.                                                               Case number (if known)



                     No
                    Yes

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’
                                                                                                        s name, or for the debtor’
                                                                                                                                 s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                 Financial Institution name and               Last 4 digits of           Type of account or           Date account was          Last balance before
                 Address                                      account number             instrument                   closed, sold,              closing or transfer
                                                                                                                      moved, or
                                                                                                                      transferred
       18.1.     PNC Bank                                     XXXX-4092                  Checking                    Closed March                             $0.00
                 PO Box 3180                                                              Savings                    10, 2023
                 Pittsburgh, PA 15230-3180
                                                                                          Money Market
                                                                                          Brokerage
                                                                                          Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      None
       Depository institution name and address                     Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
                                                                   Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.


       None
       Facility name and address                                   Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
       Warehouse                                                                                          Inventory-See Exhibit 1                   No
       8150 S University Blvd Ste 100                                                                                                              Yes
       Littleton, CO 80122-3165



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

    None

 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

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 Debtor      Colorado Home Fitness Inc.                                                                 Case number (if known)



      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                  Court or agency name and               Nature of the case                           Status of case
       Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
    Business name address                                   Describe the nature of the business               Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.

                                                                                                              Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’
                                                                       s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26a.1.       Jeff Taksey                                                                                                               More than last 2
                    6586 Castlebay Ct                                                                                                         years
                    Highland, MD 20777-9789

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’
                                                                                     s books of account and records or prepared a financial statement within 2
         years before filing this case.

          None

    26c. List all firms or individuals who were in possession of the debtor’
                                                                           s books of account and records when this case is filed.

           None
       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why


Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6

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 Debtor      Colorado Home Fitness Inc.                                                                 Case number (if known)



       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why
       26c.1.       Luther Hunnings
                    23933 E Swallow Cir
                    Aurora, CO 80016-7867

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

          None
       Name and address

27. Inventories
    Have any inventories of the debtor’
                                      s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Luther Hunnings
       .                                                                                    3.4.2023                 $396,000 COST

                Name and address of the person who has possession of
                inventory records
                Luther Hunnings
                23933 E Swallow Cir
                Aurora, CO 80016-7867


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       Luther Hunnings                              23933 E Swallow Cir                                   President                              85
                                                    Aurora, CO 80016-7867



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7

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 Debtor      Colorado Home Fitness Inc.                                                                 Case number (if known)



              Name and address of recipient                   Amount of money or description and value of                Dates             Reason for providing
                                                              property                                                                     the value
       30.1 Luther Hunnings                                                                                              March, 2022
       .    23933 E Swallow Cir                                                                                          through
              Aurora, CO 80016-7867                           $48,307                                                    January, 2023     Salary

              Relationship to debtor
              President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                              corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                  Employer Identification number of the pension
                                                                                                              fund

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
      correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        April 13, 2023

 /s/ Luther Hunnings                                                   Luther Hunnings
 Signature of individual signing on behalf of the debtor               Printed name

 Position or relationship to debtor        President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
 Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8

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            Fill in this information to identify the case:

 Debtor name            Colorado Home Fitness Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO, DENVER DIVISION

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $          394,221.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $          394,221.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $          879,206.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                +$          771,982.90


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $          1,651,188.90




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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           Fill in this information to identify the case:

 Debtor name        Colorado Home Fitness Inc.

 United States Bankruptcy Court for the:           DISTRICT OF COLORADO, DENVER DIVISION

 Case number (if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                             12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

    No.     Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                            Current value of
                                                                                                                              debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

    No.     Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
    Yes Fill in the information below.
 11.       Accounts receivable
           11a. 90 days old or less:                             808.00    -                              808.00 = ....                     unknown
                                             face amount                       doubtful or uncollectible accounts




           11b. Over 90 days old:                              3,012.00    -                          3,012.00 =....                        unknown
                                             face amount                       doubtful or uncollectible accounts



           11b. Over 90 days old:                             56,023.36    -                         56,023.36 =....                        unknown
                                             face amount                       doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                  $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                        page 1
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 Debtor         Colorado Home Fitness Inc.                                                  Case number (If known)
                Name

13. Does the debtor own any investments?

    No.     Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
    Yes Fill in the information below.
           General description                      Date of the last        Net book value of      Valuation method used   Current value of
                                                    physical inventory      debtor's interest      for current value       debtor's interest
                                                                            (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory- See Exhibit 1                 3/4/2023                       $393,000.00     Cost                             $393,000.00


           Exercise equipment                                                             $0.00                                            $0.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                     $393,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
           No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
            Yes. Book value                                    Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.     Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
    Yes Fill in the information below.
           General description                                              Net book value of      Valuation method used   Current value of
                                                                            debtor's interest      for current value       debtor's interest
                                                                            (Where available)

 39.       Office furniture

Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                               page 2
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 Debtor         Colorado Home Fitness Inc.                                                       Case number (If known)
                Name

            2 8 foot ladders, 1 10 foot ladder, 1 vertical
            wood file cabinet, 2 sales counters, 1 office
            desk, 1 3 drawer metal file cabinet, 3
            microwaves, 2 6 foot folding tables, 4 office
            chairs, 2 Varier chairs                                                       unknown                           unknown



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            4 Desktop computers, 4 monitors, 2 laptop
            computers, 3 shredders, 1 Dell docking
            station, 1 Samsung tv, 1 GE fridge, 1 Danby
            fridge, 1 Clarke Carpet Master Vacuum, 1 Pro
            Team Vacuum, 1 Magnetic floor sweeper,                                        unknown                           unknown



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books,
            pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
            other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                  $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.     Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    No.     Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.     Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
    Yes Fill in the information below.

Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                      page 3
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 Debtor         Colorado Home Fitness Inc.                                                 Case number (If known)
                Name

                                                                                                                    Current value of
                                                                                                                    debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

           Insurance refunds                                                                                                   $1,221.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                 $1,221.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           No
            Yes




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                        page 4
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 Debtor           Colorado Home Fitness Inc.                                                                           Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                       $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                            $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $393,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                     $1,221.00

 91. Total. Add lines 80 through 90 for each column                                                              $394,221.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $394,221.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                       page 5
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           Fill in this information to identify the case:

 Debtor name          Colorado Home Fitness Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO, DENVER DIVISION

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
 2.1    American Express                              Describe debtor's property that is subject to a lien                 $87,769.00                       $0.00
        Creditor's Name


        P O Box 570622
        Atlanta, GA 30357
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        7.21                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        1157
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        No                                            Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Apex Funding Source LLC                       Describe debtor's property that is subject to a lien                 $27,336.00                       $0.00
        Creditor's Name


        3050 Biscayne Blvd Ste
        502
        Miami, FL 33137-4153
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        10.4.22                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
                                                       Contingent
                                                       Unliquidated
Official
        Form
         No 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5
                                                       Disputed
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 Debtor      Colorado Home Fitness Inc.                                                             Case number (if known)
             Name

        Yes. Specify each creditor,
       including this creditor and its relative
       priority.



 2.3   City And County Of Denver                    Describe debtor's property that is subject to a lien                      $4,382.00   $0.00
       Creditor's Name

       Department of Finance
       PO Box 660860
       Dallas, TX 75266-0860
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
       2022                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7846
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



 2.4   City of Castle Rock                          Describe debtor's property that is subject to a lien                     $67,644.00   $0.00
       Creditor's Name


       100 N Wilcox St
       Castle Rock, CO 80104
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
       2023                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



       City Of Westminster
 2.5                                                Describe debtor's property that is subject to a lien                       $521.00    $0.00
       Finance Dept
       Creditor's Name


       4800 W 92nd Ave
       Westminster, CO
       80031-6387
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No

Official Form 206D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                        page 2 of 5
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 Debtor       Colorado Home Fitness Inc.                                                            Case number (if known)
              Name

       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       No
       1.23                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0016
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



 2.6   Cloudfund LLC                                Describe debtor's property that is subject to a lien                     $218,500.00   $0.00
       Creditor's Name


       400 Rella Blvd Ste 165-101
       Suffern, NY 10901-4241
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       8.18.22                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



       Colorado Department Of
 2.7                                                Describe debtor's property that is subject to a lien                     $105,000.00   $0.00
       Revenue
       Creditor's Name                              Sales Tax

       1575 N Sherman St
       Denver, CO 80203-1702
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



 2.8   PNC Bank                                     Describe debtor's property that is subject to a lien                     $256,106.00   $0.00

Official Form 206D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                         page 3 of 5
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 Debtor       Colorado Home Fitness Inc.                                                            Case number (if known)
              Name

        Creditor's Name


        PO Box 856177
        Louisville, KY 40285-6177
        Creditor's mailing address                  Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
        Creditor's email address, if known           Yes
                                                    Is anyone else liable on this claim?
        Date debt was incurred                       No
        2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        4827
        Do multiple creditors have an               As of the petition filing date, the claim is:
        interest in the same property?              Check all that apply
        No                                          Contingent
         Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative     Disputed
        priority.



 2.9    Precor                                      Describe debtor's property that is subject to a lien                     $111,948.00                     $0.00
        Creditor's Name


        PO Box 3136
        Carol Stream, IL
        60132-3136
        Creditor's mailing address                  Describe the lien

                                                    Is the creditor an insider or related party?
                                                    No
        Creditor's email address, if known           Yes
                                                    Is anyone else liable on this claim?
        Date debt was incurred                       No
        2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an               As of the petition filing date, the claim is:
        interest in the same property?              Check all that apply
        No                                          Contingent
         Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative     Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $879,206.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity
         Colorado Department Of Revenue
         PO Box 17087                                                                                       Line   2.7
         Denver, CO 80217-0087

         David Doyle
         123 N Wacker Dr Ste 1800                                                                           Line   2.9
         Chicago, IL 60606-1770

Official Form 206D                      Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                         page 4 of 5
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 Debtor      Colorado Home Fitness Inc.                                                 Case number (if known)
             Name

        Isaac Greenfield, Esq.
        2 Executive Blvd Ste 305                                                                Line   2.2
        Suffern, NY 10901-8219

        Kings County Supreme Court
        360 Adams St                                                                            Line   2.2
        Brooklyn, NY 11201-3707

        Nomas Recovery LLC
        270 Ave Munoz Rivera Ste 310                                                            Line   2.2
        San Juan, PR 00918-1901




Official Form 206D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property      page 5 of 5
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    Fill in this information to identify the case:

 Debtor name         Colorado Home Fitness Inc.

 United States Bankruptcy Court for the:           DISTRICT OF COLORADO, DENVER DIVISION

 Case number (if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $550.00
           Allison Cusick                                                      Contingent
                                                                               Unliquidated
           2194 NW Lolo Dr                                                     Disputed
           Bend, OR 97703-7342
                                                                              Basis for the claim:
           Date(s) debt was incurred 10.31.22
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $46,006.00
           American Express National Bank                                      Contingent
                                                                               Unliquidated
           4315 S 2700 W                                                       Disputed
           Salt Lake City, UT 84184-0001
                                                                              Basis for the claim:
           Date(s) debt was incurred 2023
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $1,000.00
           Andrea Rice                                                         Contingent
                                                                               Unliquidated
           PO Box 1276                                                         Disputed
           Paonia, CO 81428-1276
                                                                              Basis for the claim:
           Date(s) debt was incurred 7.22
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes
 3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                       $400.00
           Andy Berger                                                         Contingent
                                                                               Unliquidated
           4285 Forever Cir                                                    Disputed
           Castle Rock, CO 80109-4611
                                                                              Basis for the claim:
           Date(s) debt was incurred 10.22
           Last 4 digits of account number                                    Is the claim subject to offset?   No  Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 10
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 Debtor      Colorado Home Fitness Inc.                                                              Case number (if known)
             Name

 3.5      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $1,000.00
          Anne Hillary                                                      Contingent
                                                                            Unliquidated
          25 Sunset Dr                                                      Disputed
          Englewood, CO 80113-4033
                                                                           Basis for the claim:
          Date(s) debt was incurred 8.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.6      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $900.00
          Ari Silverman                                                     Contingent
                                                                            Unliquidated
          48 Covington Ct                                                   Disputed
          Englewood, CO 80113-4143
                                                                           Basis for the claim:
          Date(s) debt was incurred 8.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.7      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $21,259.00
          Auto Owners Insurance                                             Contingent
                                                                            Unliquidated
          PO Box 740312                                                     Disputed
          Cincinnati, OH 45274-0312
                                                                           Basis for the claim:
          Date(s) debt was incurred 4.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.8      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $12,390.00
          Bodycraft                                                         Contingent
                                                                            Unliquidated
          7699 Green Meadows Dr                                             Disputed
          Lewis Center, OH 43035-9445
                                                                           Basis for the claim:
          Date(s) debt was incurred 11.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.9      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $250.00
          Chris Taylor                                                      Contingent
                                                                            Unliquidated
          1154 Lost Elk Cir                                                 Disputed
          Castle Rock, CO 80108-8739
                                                                           Basis for the claim:
          Date(s) debt was incurred 6.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.10     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $900.00
          Christine Narro                                                   Contingent
                                                                            Unliquidated
          3415 Cranston Cir                                                 Disputed
          Highlands Ranch, CO 80126-3621
                                                                           Basis for the claim:
          Date(s) debt was incurred 8.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.11     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $575.00
          Chuck Steece                                                      Contingent
                                                                            Unliquidated
          12851 N 130th Pl                                                  Disputed
          Scottsdale, AZ 85259-3551
                                                                           Basis for the claim:
          Date(s) debt was incurred 10.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor      Colorado Home Fitness Inc.                                                              Case number (if known)
             Name

 3.12     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $12,084.00
          Citi                                                              Contingent
                                                                            Unliquidated
          PO Box 6704                                                       Disputed
          Sioux Falls, SD 57117-6704
                                                                           Basis for the claim:
          Date(s) debt was incurred 2019
          Last 4 digits of account number 7077                             Is the claim subject to offset?   No  Yes
 3.13     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $2,627.00
          Comcast                                                           Contingent
                                                                            Unliquidated
          PO Box 60533                                                      Disputed
          City of Industry, CA 91716-0533
                                                                           Basis for the claim:
          Date(s) debt was incurred 3.14.23
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.14     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $4,650.00
          Common Knowledge                                                  Contingent
                                                                            Unliquidated
          44 Inverness Dr E Ste C                                           Disputed
          Greenwood Village, CO 80112-5410
                                                                           Basis for the claim:
          Date(s) debt was incurred 1.23
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.15     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $850.00
          Don Detampel                                                      Contingent
                                                                            Unliquidated
          369 Steele St                                                     Disputed
          Denver, CO 80206-4414
                                                                           Basis for the claim:
          Date(s) debt was incurred 8.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.16     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $450.00
          Doug Larner                                                       Contingent
                                                                            Unliquidated
          1656 Hideaway Ct                                                  Disputed
          Longmont, CO 80503-7651
                                                                           Basis for the claim:
          Date(s) debt was incurred 6.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.17     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $14,150.00
          Echelon                                                           Contingent
                                                                            Unliquidated
          605 Chestnut St Ste 700                                           Disputed
          Chattanooga, TN 37450-5505
                                                                           Basis for the claim:
          Date(s) debt was incurred 6.22
          Last 4 digits of account number 0830                             Is the claim subject to offset?   No  Yes
 3.18     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $1,500.00
          Ella Connolly                                                     Contingent
                                                                            Unliquidated
          PO Box 36974                                                      Disputed
          Denver, CO 80236
                                                                           Basis for the claim:
          Date(s) debt was incurred     12.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor      Colorado Home Fitness Inc.                                                              Case number (if known)
             Name

 3.19     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $2,350.00
          Eric Grove                                                        Contingent
                                                                            Unliquidated
          9964 W Canyon Ave                                                 Disputed
          Littleton, CO 80127-3951
                                                                           Basis for the claim:
          Date(s) debt was incurred 12.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.20     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $15,433.00
          First Data Merchant Services, LLC                                 Contingent
          Attent: General Counsel's                                         Unliquidated
          3975 NW 120th Ave Ofc                                             Disputed
          Coral Springs, FL 33065-7632
                                                                           Basis for the claim:
          Date(s) debt was incurred 7.26.22
          Last 4 digits of account number 3975                             Is the claim subject to offset?   No  Yes
 3.21     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $1,403.00
          GFL Environmental                                                 Contingent
                                                                            Unliquidated
          PO Box 791519                                                     Disputed
          Baltimore, MD 21279-1519
                                                                           Basis for the claim:
          Date(s) debt was incurred 1.23
          Last 4 digits of account number 7792                             Is the claim subject to offset?   No  Yes
 3.22     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $800.00
          Greg Daviscourt                                                   Contingent
                                                                            Unliquidated
          66 Inverness Ln E                                                 Disputed
          Centennial, CO 80112-5132
                                                                           Basis for the claim:
          Date(s) debt was incurred 11.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.23     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $900.00
          Greg Muirhead                                                     Contingent
                                                                            Unliquidated
          5315 S Lamar St                                                   Disputed
          Littleton, CO 80123-5191
                                                                           Basis for the claim:
          Date(s) debt was incurred 12.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.24     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $50,000.00
          GS Centennial                                                     Contingent
                                                                            Unliquidated
          3300 Enterprise Pkwy                                              Disputed
          Beachwood, OH 44122-7200
                                                                           Basis for the claim:
          Date(s) debt was incurred 11.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.25     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $1,654.00
          Jaala Knowlton                                                    Contingent
                                                                            Unliquidated
          1181 Ridgeview Cir                                                Disputed
          Broomfield, CO 80020-3457
                                                                           Basis for the claim:
          Date(s) debt was incurred 12.5.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor      Colorado Home Fitness Inc.                                                              Case number (if known)
             Name

 3.26     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $1,200.00
          Jason Bridges                                                     Contingent
                                                                            Unliquidated
          6808 Eagle Ridge Blvd                                             Disputed
          Lakeland, FL 33813-5654
                                                                           Basis for the claim:
          Date(s) debt was incurred 11.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.27     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.      $400.00
          Jeff Taggert                                                      Contingent
                                                                            Unliquidated
          943 S Washington St                                               Disputed
          Denver, CO 80209-4315
                                                                           Basis for the claim:
          Date(s) debt was incurred 11.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.28     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.      $275.00
          Jeffrey Browning                                                  Contingent
                                                                            Unliquidated
          1621 E Cedar Ave                                                  Disputed
          Denver, CO 80209-2602
                                                                           Basis for the claim:
          Date(s) debt was incurred 1.23
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.29     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $8,800.00
          Jim Cooper                                                        Contingent
                                                                            Unliquidated
          8 Lambert Ln                                                      Disputed
          Upper Saddle River, NJ 07458-1910
                                                                           Basis for the claim:
          Date(s) debt was incurred 2021
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.30     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.      $650.00
          John Rea                                                          Contingent
                                                                            Unliquidated
          2764 S Marshall St                                                Disputed
          Denver, CO 80227-3517
                                                                           Basis for the claim:
          Date(s) debt was incurred 9.27.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.31     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $187,916.00
          Johnson Health Tech                                               Contingent
                                                                            Unliquidated
          PO Box 734118                                                     Disputed
          Chicago, IL 60673-4118
                                                                           Basis for the claim:
          Date(s) debt was incurred 9.30.22
          Last 4 digits of account number 0126                             Is the claim subject to offset?   No  Yes
 3.32     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.      $180.00
          Johnson Health Tech NA                                            Contingent
                                                                            Unliquidated
          27829 Network Pl                                                  Disputed
          Chicago, IL 60673-1278
                                                                           Basis for the claim:
          Date(s) debt was incurred 2.23
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor      Colorado Home Fitness Inc.                                                              Case number (if known)
             Name

 3.33     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $2,575.00
          Kamalesh Dwivedi                                                  Contingent
                                                                            Unliquidated
          6000 Summit Pl                                                    Disputed
          Alpharetta, GA 30009
                                                                           Basis for the claim:
          Date(s) debt was incurred 5.24.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.34     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $375.00
          Kathy Lutito                                                      Contingent
                                                                            Unliquidated
          5788 Stonebridge Way                                              Disputed
          Morrison, CO 80465-2117
                                                                           Basis for the claim:
          Date(s) debt was incurred 12.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.35     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $600.00
          Kelly Willie                                                      Contingent
                                                                            Unliquidated
          10159 W Saratoga Pl                                               Disputed
          Littleton, CO 80127-1318
                                                                           Basis for the claim:
          Date(s) debt was incurred 11.25.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.36     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $250.00
          Kurt Schwartz                                                     Contingent
                                                                            Unliquidated
          786 Columbine St                                                  Disputed
          Denver, CO 80206-3805
                                                                           Basis for the claim:
          Date(s) debt was incurred 12.2.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.37     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $0.00
          Kwenda, Inc.                                                      Contingent
          Attn. Scott Goldhammer                                            Unliquidated
          6900 E Belleview Ave Ste 300                                      Disputed
          Greenwood Village, CO 80111-1647
                                                                           Basis for the claim:
          Date(s) debt was incurred 11.23.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.38     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $800.00
          Laurie Valaer                                                     Contingent
                                                                            Unliquidated
          3065 S Race St                                                    Disputed
          Denver, CO 80210-6330
                                                                           Basis for the claim:
          Date(s) debt was incurred 12.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.39     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $1,000.00
          Mariana Vertenstein                                               Contingent
                                                                            Unliquidated
          2210 Hillsdale Cir                                                Disputed
          Boulder, CO 80305-5622
                                                                           Basis for the claim:
          Date(s) debt was incurred 12.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor      Colorado Home Fitness Inc.                                                              Case number (if known)
             Name

 3.40     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $900.00
          Michael Papirtis                                                  Contingent
                                                                            Unliquidated
          3047 Deer Creek Ranch Loop                                        Disputed
          Parker, CO 80138-4745
                                                                           Basis for the claim:
          Date(s) debt was incurred 7.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.41     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $350.00
          Mike Jeronimus                                                    Contingent
                                                                            Unliquidated
          2054 Terrace Dr                                                   Disputed
          Littleton, CO 80126-2692
                                                                           Basis for the claim:
          Date(s) debt was incurred 12.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.42     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $1,000.00
          Mike Sodoro                                                       Contingent
                                                                            Unliquidated
          19726 K St                                                        Disputed
          Omaha, NE 68135-3668
                                                                           Basis for the claim:
          Date(s) debt was incurred 11.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.43     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.        $9.40
          Northwest Parkway                                                 Contingent
                                                                            Unliquidated
          3701 Northwest Pkwy                                               Disputed
          Broomfield, CO 80023-9479
                                                                           Basis for the claim:
          Date(s) debt was incurred 1.23
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.44     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $550.00
          Paul Gardon                                                       Contingent
                                                                            Unliquidated
          4268 Pebble Beach Dr                                              Disputed
          Longmont, CO 80503-8359
                                                                           Basis for the claim:
          Date(s) debt was incurred 10.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.45     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $11,314.00
          Phillips 66 CO/SYNCB                                              Contingent
                                                                            Unliquidated
          PO Box 530942                                                     Disputed
          Atlanta, GA 30353-0942
                                                                           Basis for the claim:
          Date(s) debt was incurred 3.22
          Last 4 digits of account number      3944                        Is the claim subject to offset?   No  Yes
 3.46     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $9,767.00
          PNC Bank                                                          Contingent
                                                                            Unliquidated
          PO Box 71335                                                      Disputed
          Philadelphia, PA 19176-1335
                                                                           Basis for the claim:
          Date(s) debt was incurred 2022
          Last 4 digits of account number 8577                             Is the claim subject to offset?   No  Yes




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 Debtor      Colorado Home Fitness Inc.                                                              Case number (if known)
             Name

 3.47     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $45,408.00
          PNC Merchant Services Company                                     Contingent
                                                                            Unliquidated
          1600 Terrell Mill Rd SE Ste 400                                   Disputed
          Marietta, GA 30067-8307
                                                                           Basis for the claim:
          Date(s) debt was incurred 2023
          Last 4 digits of account number 0887                             Is the claim subject to offset?   No  Yes
 3.48     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $6,158.00
          Power Block                                                       Contingent
                                                                            Unliquidated
          14255 Southcross Dr W                                             Disputed
          Burnsville, MN 55306-6929
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.49     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $800.00
          Reuben Munger                                                     Contingent
                                                                            Unliquidated
          3660 19th St                                                      Disputed
          Boulder, CO 80304-1602
                                                                           Basis for the claim:
          Date(s) debt was incurred 8.24
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.50     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $1,150.00
          Rob McClogan                                                      Contingent
                                                                            Unliquidated
          4011 S Hudson Way                                                 Disputed
          Englewood, CO 80113-5113
                                                                           Basis for the claim:
          Date(s) debt was incurred 3.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.51     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $650.00
          Sari Surkis                                                       Contingent
                                                                            Unliquidated
          860 Harlan St                                                     Disputed
          Lakewood, CO 80214-2344
                                                                           Basis for the claim:
          Date(s) debt was incurred 11.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.52     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $400.00
          Scott Doherty                                                     Contingent
                                                                            Unliquidated
          3732 Tejon St                                                     Disputed
          Denver, CO 80211-2926
                                                                           Basis for the claim:
          Date(s) debt was incurred 1.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.53     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $300.00
          Shannon Wheat                                                     Contingent
                                                                            Unliquidated
          2390 Kenwood Dr                                                   Disputed
          Boulder, CO 80305-5233
                                                                           Basis for the claim:
          Date(s) debt was incurred 10.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor      Colorado Home Fitness Inc.                                                              Case number (if known)
             Name

 3.54     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.    $10,029.00
          Stairmaster                                                       Contingent
                                                                            Unliquidated
          PO Box 31001-2177                                                 Disputed
          Pasadena, CA 91110
                                                                           Basis for the claim:
          Date(s) debt was incurred  11.22
          Last 4 digits of account number 5554                             Is the claim subject to offset?   No  Yes
 3.55     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $107,713.00
          University Hills Plaza, LLC                                       Contingent
          c/o Miller Real Estate Investments                                Unliquidated
          6900 E Belleview Ave Ste 300                                      Disputed
          Greenwood Village, CO 80111-1647
                                                                           Basis for the claim:
          Date(s) debt was incurred 1.6.23
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.56     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $6,578.00
          USA Sports                                                        Contingent
                                                                            Unliquidated
          10600 Shadow Wood Dr Ste 301                                      Disputed
          Houston, TX 77043-2838
                                                                           Basis for the claim:
          Date(s) debt was incurred 5.22
          Last 4 digits of account number co03                             Is the claim subject to offset?   No  Yes
 3.57     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.   $135,551.00
          Vestar Orchard Town Center                                        Contingent
                                                                            Unliquidated
          2415 E Camelback Rd Ste 100                                      Disputed
          Phoenix, AZ 85016-9282
                                                                           Basis for the claim:
          Date(s) debt was incurred 2022
          Last 4 digits of account number otc                              Is the claim subject to offset?   No  Yes
 3.58     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.      $300.00
          Victor Rios                                                       Contingent
                                                                            Unliquidated
          22650 E Tufts Pl                                                  Disputed
          Aurora, CO 80015-6819
                                                                           Basis for the claim:
          Date(s) debt was incurred 9.29.22
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.59     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.     $2,450.00
          Walter Lowney                                                     Contingent
                                                                            Unliquidated
          30966 S Canyon Vista Way                                          Disputed
          Oracle, AZ 85623-7471
                                                                           Basis for the claim:
          Date(s) debt was incurred 10.31.2022
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.60     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.      $690.00
          Waste Management of CO                                            Contingent
                                                                            Unliquidated
          PO Box 7400                                                       Disputed
          Pasadena, CA 91109-7400
                                                                           Basis for the claim:
          Date(s) debt was incurred 3.3.23
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes




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 Debtor       Colorado Home Fitness Inc.                                                             Case number (if known)
              Name

 3.61      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                $29,696.00
           Wells Fargo SBL                                                  Contingent
                                                                            Unliquidated
           PO Box 29482                                                     Disputed
           Phoenix, AZ 85038-9482
                                                                           Basis for the claim:
           Date(s) debt was incurred 2022
           Last 4 digits of account number     1878                        Is the claim subject to offset?    No  Yes
 3.62      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                 $1,117.50
           Xcel Energy                                                      Contingent
                                                                            Unliquidated
           PO Box 9477                                                      Disputed
           Minneapolis, MN 55484-0001
                                                                           Basis for the claim:
           Date(s) debt was incurred 2.23
           Last 4 digits of account number 2479                            Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
 4.1       Altus Receivables Management
                                                                                                    Line      3.56                                     co03

                                                                                                            Not listed. Explain

 4.2       David B. Bush
           730 17th St Ste 420                                                                      Line      3.57                                     otc
           Denver, CO 80202-3510
                                                                                                            Not listed. Explain

 4.3       District Court, Adams County Colorado
           1100 Judicial Center Dr                                                                  Line      3.57                                     otc
           Brighton, CO 80601-8873
                                                                                                            Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                           5a.          $                          0.00
 5b. Total claims from Part 2                                                                           5b.     +    $                    771,982.90
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                5c.          $                       771,982.90




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 10
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          Fill in this information to identify the case:

 Debtor name        Colorado Home Fitness Inc.

 United States Bankruptcy Court for the:           DISTRICT OF COLORADO, DENVER DIVISION

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
    Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal      Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                     One-month lease at
             lease is for and the nature of                 8150 S. University
             the debtor's interest                          Blvd., Unit 100

                 State the term remaining                   None

               List the contract number of                                            Kwenda, Inc.
                any government contract




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        Colorado Home Fitness Inc.

 United States Bankruptcy Court for the:           DISTRICT OF COLORADO, DENVER DIVISION

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                    Name                            Check all schedules
                                                                                                                                 that apply:
     2.1     Luther Hunnings                  23933 E Swallow Cir                                American Express                D          2.1
                                              Aurora, CO 80016-7867                                                               E/F
                                                                                                                                 G


     2.2     Luther Hunnings                  23933 E Swallow Cir                                Apex Funding                    D          2.2
                                              Aurora, CO 80016-7867                              Source LLC                       E/F
                                                                                                                                 G


     2.3     Luther Hunnings                  23933 E Swallow Cir                                Citi                            D
                                              Aurora, CO 80016-7867                                                              E/F         3.12
                                                                                                                                 G


     2.4     Luther Hunnings                  23933 E Swallow Cir                                Cloudfund LLC                   D          2.6
                                              Aurora, CO 80016-7867                                                               E/F
                                                                                                                                 G


     2.5     Luther Hunnings                  23933 E Swallow Cir                                Colorado                        D          2.7
                                              Aurora, CO 80016-7867                              Department Of                    E/F
                                                                                                 Revenue
                                                                                                                                 G


     2.6     Luther Hunnings                  23933 E Swallow Cir                                GS Centennial                   D
                                              Aurora, CO 80016-7867                                                              E/F         3.24
                                                                                                                                 G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 2
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 Debtor      Colorado Home Fitness Inc.                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                           Column 2: Creditor

              Name                            Mailing Address                              Name                         Check all schedules
                                                                                                                        that apply:
     2.7     Luther Hunnings                  23933 E Swallow Cir                          PNC Bank                     D
                                              Aurora, CO 80016-7867                                                     E/F       3.46
                                                                                                                        G


     2.8     Luther Hunnings                  23933 E Swallow Cir                          PNC Bank                     D       2.8
                                              Aurora, CO 80016-7867                                                      E/F
                                                                                                                        G


     2.9     Luther Hunnings                  23933 E Swallow Cir                          Precor                       D       2.9
                                              Aurora, CO 80016-7867                                                      E/F
                                                                                                                        G


     2.10 Luther Hunnings                     23933 E Swallow Cir                          USA Sports                   D
                                              Aurora, CO 80016-7867                                                     E/F       3.56
                                                                                                                        G


     2.11 Luther Hunnings                     23933 E Swallow Cir                          Wells Fargo SBL              D
                                              Aurora, CO 80016-7867                                                     E/F       3.61
                                                                                                                        G




Official Form 206H                                                    Schedule H: Your Codebtors                                  Page 2 of 2
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                                                                 United States Bankruptcy Court
                                                                District of Colorado, Denver Division

       IN RE:                                                                                           Case No.
       Colorado Home Fitness Inc.                                                                       Chapter 7
                                                            Debtor(s)

                                                            VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: April 13, 2023                                 Signature: /s/ Luther Hunnings
                                                                         Luther Hunnings, President                                 Debtor



       Date:                                                Signature:
                                                                                                                        Joint Debtor, if any




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      Allison Cusick
      2194 NW Lolo Dr
      Bend, OR 97703-7342


      American Express
      P O Box 570622
      Atlanta, GA 30357


      American Express National Bank
      4315 S 2700 W
      Salt Lake City, UT 84184-0001


      Andrea Rice
      PO Box 1276
      Paonia, CO 81428-1276


      Andy Berger
      4285 Forever Cir
      Castle Rock, CO 80109-4611


      Anne Hillary
      25 Sunset Dr
      Englewood, CO    80113-4033


      Apex Funding Source LLC
      3050 Biscayne Blvd Ste 502
      Miami, FL 33137-4153
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      Ari Silverman
      48 Covington Ct
      Englewood, CO 80113-4143


      Auto Owners Insurance
      PO Box 740312
      Cincinnati, OH 45274-0312


      Bodycraft
      7699 Green Meadows Dr
      Lewis Center, OH 43035-9445


      Chris Taylor
      1154 Lost Elk Cir
      Castle Rock, CO 80108-8739


      Christine Narro
      3415 Cranston Cir
      Highlands Ranch, CO     80126-3621


      Chuck Steece
      12851 N 130th Pl
      Scottsdale, AZ 85259-3551


      Citi
      PO Box 6704
      Sioux Falls, SD     57117-6704
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      City And County Of Denver
      Department of Finance
      PO Box 660860
      Dallas, TX 75266-0860


      City of Castle Rock
      100 N Wilcox St
      Castle Rock, CO 80104


      City Of Westminster Finance Dept
      4800 W 92nd Ave
      Westminster, CO 80031-6387


      Cloudfund LLC
      400 Rella Blvd Ste 165-101
      Suffern, NY 10901-4241


      Colorado Department Of Revenue
      1575 N Sherman St
      Denver, CO 80203-1702


      Colorado Department Of Revenue
      PO Box 17087
      Denver, CO 80217-0087


      Comcast
      PO Box 60533
      City of Industry, CA      91716-0533
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      Common Knowledge
      44 Inverness Dr E Ste C
      Greenwood Village, CO 80112-5410


      David B. Bush
      730 17th St Ste 420
      Denver, CO 80202-3510


      David Doyle
      123 N Wacker Dr Ste 1800
      Chicago, IL 60606-1770


      Department Of The Treasury
      Internal Revenue Service- Centralized In
      P O Box 21126
      Philadelphia, PA 19114-0326


      District Court, Adams County Colorado
      1100 Judicial Center Dr
      Brighton, CO 80601-8873


      Don Detampel
      369 Steele St
      Denver, CO 80206-4414


      Doug Larner
      1656 Hideaway Ct
      Longmont, CO 80503-7651
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      Doug Shea
      1936 Tee Ln
      Castle Rock, CO     80104-2732


      Echelon
      605 Chestnut St Ste 700
      Chattanooga, TN 37450-5505


      Ella Connolly
      PO Box 36974
      Denver, CO 80236


      Eric Grove
      9964 W Canyon Ave
      Littleton, CO 80127-3951


      First Data Merchant Services, LLC
      Attent: General Counsel's
      3975 NW 120th Ave Ofc
      Coral Springs, FL 33065-7632


      GFL Environmental
      PO Box 791519
      Baltimore, MD 21279-1519


      Greg Daviscourt
      66 Inverness Ln E
      Centennial, CO 80112-5132
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      Greg Muirhead
      5315 S Lamar St
      Littleton, CO 80123-5191


      GS Centennial
      3300 Enterprise Pkwy
      Beachwood, OH 44122-7200


      Internal Revenue Service
      PO Box 7346
      Philadelphia, PA 19101-7346


      Isaac Greenfield, Esq.
      2 Executive Blvd Ste 305
      Suffern, NY 10901-8219


      Jaala Knowlton
      1181 Ridgeview Cir
      Broomfield, CO 80020-3457


      Jason Bridges
      6808 Eagle Ridge Blvd
      Lakeland, FL 33813-5654


      Jeff Taggert
      943 S Washington St
      Denver, CO 80209-4315
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      Jeff Taksey
      6586 Castlebay Ct
      Highland, MD 20777-9789


      Jeffrey Browning
      1621 E Cedar Ave
      Denver, CO 80209-2602


      Jim Cooper
      8 Lambert Ln
      Upper Saddle River, NJ      07458-1910


      John Rea
      2764 S Marshall St
      Denver, CO 80227-3517


      Johnson Health Tech
      PO Box 734118
      Chicago, IL 60673-4118


      Johnson Health Tech NA
      27829 Network Pl
      Chicago, IL 60673-1278


      Kamalesh Dwivedi
      6000 Summit Pl
      Alpharetta, GA 30009
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      Kathy Lutito
      5788 Stonebridge Way
      Morrison, CO 80465-2117


      Kelly Willie
      10159 W Saratoga Pl
      Littleton, CO 80127-1318


      Kings County Supreme Court
      360 Adams St
      Brooklyn, NY 11201-3707


      Kurt Schwartz
      786 Columbine St
      Denver, CO 80206-3805


      Kwenda, Inc.
      Attn. Scott Goldhammer
      6900 E Belleview Ave Ste 300
      Greenwood Village, CO 80111-1647


      Laurie Valaer
      3065 S Race St
      Denver, CO 80210-6330


      Luther Hunnings
      23933 E Swallow Cir
      Aurora, CO 80016-7867
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      Mariana Vertenstein
      2210 Hillsdale Cir
      Boulder, CO 80305-5622


      Michael Papirtis
      3047 Deer Creek Ranch Loop
      Parker, CO 80138-4745


      Mike Jeronimus
      2054 Terrace Dr
      Littleton, CO 80126-2692


      Mike Sodoro
      19726 K St
      Omaha, NE 68135-3668


      Nomas Recovery LLC
      270 Ave Munoz Rivera Ste 310
      San Juan, PR 00918-1901


      Northwest Parkway
      3701 Northwest Pkwy
      Broomfield, CO 80023-9479


      Paul Gardon
      4268 Pebble Beach Dr
      Longmont, CO 80503-8359
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      Phillips 66 CO/SYNCB
      PO Box 530942
      Atlanta, GA 30353-0942


      PNC Bank
      PO Box 856177
      Louisville, KY     40285-6177


      PNC Bank
      PO Box 71335
      Philadelphia, PA     19176-1335


      PNC Merchant Services Company
      1600 Terrell Mill Rd SE Ste 400
      Marietta, GA 30067-8307


      Power Block
      14255 Southcross Dr W
      Burnsville, MN 55306-6929


      Precor
      PO Box 3136
      Carol Stream, IL     60132-3136


      Reuben Munger
      3660 19th St
      Boulder, CO 80304-1602
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      Rob McClogan
      4011 S Hudson Way
      Englewood, CO 80113-5113


      Sari Surkis
      860 Harlan St
      Lakewood, CO 80214-2344


      Scott Doherty
      3732 Tejon St
      Denver, CO 80211-2926


      Shannon Wheat
      2390 Kenwood Dr
      Boulder, CO 80305-5233


      Stairmaster
      PO Box 31001-2177
      Pasadena, CA 91110


      Steve Antonczyk
      2941 Distant Rock Ave
      Castle Rock, CO 80109-3848


      University Hills Plaza, LLC
      c/o Miller Real Estate Investments
      6900 E Belleview Ave Ste 300
      Greenwood Village, CO 80111-1647
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      USA Sports
      10600 Shadow Wood Dr Ste 301
      Houston, TX 77043-2838


      Vestar Orchard Town Center
      2415 E Camelback Rd Ste 100
      Phoenix, AZ 85016-9282


      Victor Rios
      22650 E Tufts Pl
      Aurora, CO 80015-6819


      Walter Lowney
      30966 S Canyon Vista Way
      Oracle, AZ 85623-7471


      Waste Management of CO
      PO Box 7400
      Pasadena, CA 91109-7400


      Wells Fargo SBL
      PO Box 29482
      Phoenix, AZ 85038-9482


      Xcel Energy
      PO Box 9477
      Minneapolis, MN     55484-0001
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    Fill in this information to identify the case:

Debtor name       Colorado Home Fitness Inc.

United States Bankruptcy Court for the:      DISTRICT OF COLORADO, DENVER DIVISION

Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’     s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 13, 2023                    X /s/ Luther Hunnings
                                                             Signature of individual signing on behalf of debtor

                                                              Luther Hunnings
                                                              Printed name

                                                              President
                                                              Position or relationship to debtor
